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                                                 IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE SOUTHERN DISTRICT OF OHIO
                                                          WESTERN DIVISION

                             N.B., A MINOR, BY HER PARENTS,              )
                             NATURAL GUARDIANS, AND NEXT                 )   CASE NO. 1:20-CV-699
                             FRIENDS DWAN BRAY AND                       )
                             AARON BRAY,                                 )   DISTRICT JUDGE TIMOTHY S.
                                                                         )   BLACK
                                   Plaintiffs,                           )
                                                                         )   Magistrate Judge Karen L. Litkovitz
                             vs.                                         )
                                                                         )   PLAINTIFFS’ SUPPLEMENTAL
                             BON SECOURS MERCY HEALTH,                   )   REPLY IN SUPPORT OF MOTION
                             INC., et al.,                               )   TO REMAND
                                                                         )
                                   Defendants.                           )
                                                            SUPPLEMENTAL REPLY

                                      Plaintiffs, N.B. a Minor, by her Parents, Natural Guardians, and Next Friends

                             Dwan Bray and Aaron Bray, submit this Supplemental Reply in further support of their

                             request that this Court remand this action in accordance with 42 U.S.C. § 233(c) and 28

                             U.S.C. § 1447(c).    Doc#:20, Plaintiffs’ Motion for Remand with Leave to Conduct

                             Jurisdictional Discovery filed October 8, 2020 (“Motion for Remand”), PageID#:332-

                             342. Many of the positions asserted in Doc#:34, the United States of Amrerica’s [sic]
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                             filed May 20, 2022 (“USA’s Supplemental Response”), PageID#:720-731, had been

                             anticipated and addressed in Doc#:32, Plaintiff’s Supplemental Memorandum in Support

                             of Remand filed April 20, 2022 (“Plaintiffs’ Supplemental Memo.”), PageID#:582-595.

                             But a few final responses are now warranted. As explained below, this Court lacks subject

                             matter jurisdiction over this dispute, and a remand to the Hamilton County Court of

                             Common Pleas should be ordered.
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                             I.      THE ATTEMPT TO LITIGATE UNDER THE WESTFALL ACT

                                     This Court has already ruled, correctly, that this proceeding was removed under

                             the Federally Supported Health Care Assistance Act (“FSHCAA”), “not the Westfall Act,”

                             and that unlike the Westfall Act, “FSHCAA requires remand if, after a hearing on a motion

                             to remand, the federal court determines that remedy under the FSHCAA is unavailable.”

                             Doc#:26, Order Granting Motion for Leave to Conduct Additional Discovery (“June 8,

                             2021 Ruling”), PageID#:520-21. For these reasons, it made sense that unlike under the

                             Westfall Act, “the Attorney General’s certification simply cannot conclusively establish

                             that removal jurisdiction is proper.” Id., PageID#:521.

                                     It was thus surprising that the United States has again insisted, without any

                             citation to superseding or even contrary authority, that the “Attorney General’s

                             certification” that “a defendant was acting within the scope of employment at the time the

                             incident took place” is “conclusive to establish subject-matter jurisdiction for removal”

                             under FSHCAA. Doc#:34, USA’s Supplemental Response, PageID#:723. Along those

                             same lines, the United States claims that to “rebut the certification,” the Plaintiffs must

                             “prove by a preponderance of the evidence that the deemed employee was not acting

                             within the scope of their employment.” Id. In support, the government relies solely upon

                             Singleton v. United States, 277 F.3d 864 (6th Cir. 2002). Doc#:34, USA’s Supplemental
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50 Public Sq.                Response, PageID#:723. Unlike the case at bar, Singleton was a dispute governed by the
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                             Westfall Act, and the shifted evidentiary burden to prove a lack of subject matter

                             jurisdiction under that law arises from the statutory presumption of the correctness of the

                             Attorney General’s certification. Singleton, 277 F.3d at 870-871; Brown v. Armstrong,

                             949 F.2d 1007, 1011-12 (8th Cir. 1991); RMI Titanium Co. v. Westinghouse Elec. Corp.,

                             78 F.3d 1125, 1143 (6th Cir. 1996) (relying on Brown).

                                     The government has not identified any such statutory presumption under FSHCAA


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                             despite having known it would need such an authority following this Court’s June 8, 2021

                             Ruling. Instead of shifting the burden to Plaintiffs to prove the validity of the United

                             States’ removal to federal court, this Court’s prior ruling should stand. The longstanding

                             prevailing rule, which places the burden of proving federal jurisdiction upon its

                             proponent, should be applied. McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178,

                             189, 56 S. Ct. 780, 80 L. Ed. 1135 (1936); Alexander v. Elec. Data Sys. Corp., 13 F.3d 940,

                             948-49 (6th Cir. 1994); Callahan v. Callahan, 247 F. Supp. 2d 935, 939 (S.D. Ohio 2002).

                             And as explained below, the evidence weighs strongly against federal jurisdiction in this

                             instance.

                             II.      THE APPEAL TO INAPPLICABLE STATUTORY PROVISIONS

                                      Burden shifting is hardly the only way that the United States has tried to move the

                             goal posts to meet its burdens more easily. Relying on Dolan v. United States, 514 F.3d

                             587 (6th Cir. 2008), the government wrongly urges that “[w]hen reviewing a challenge to

                             the scope [of] certification for a specific employee, courts look to state law regarding the

                             scope of employment to address whether the actions taken by the employee occurred

                             within or exceeded the scope of employment with the health center.” Doc#:34, USA’s

                             Supplemental Response, PageID#:723. Again, this is the analytically improper approach

                             because FSHCAA, 42 U.S.C. § 233, defines the contours of Public Health Service (“PHS”)
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                             employment rule provided under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 1346.

                                      First, Dolan relies on a chain of authority finding its foundation in a provision of

                             the FTCA, 28 U.S.C. § 1346(b). Arbour v. Jenkins, 903 F.2d 416, 421-22 (6th Cir. 1990)

                             (“Whether an employee’s actions are within the scope of his employment for purposes of

                             the Westfall Act is an issue that must be determined in accordance with the law of the

                             state where the incident occurred. 28 U.S.C. § 1346(b).”); see Henson v. Nat’l Aeronautics


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                             & Space Admin., 14 F.3d 1143, 1147 (6th Cir. 1994) (relying upon Arbour); RMI Titanium

                             Co., 78 F.3d at 1143 (relying upon Henson); Singleton, 277 F.3d at 870 (quoting RMI

                             Titanium Co., 78 F.3d at 1143); Dolan, 514 F.3d at 593 (quoting Singleton, 277 F.3d at

                             870). And for its part, 28 U.S.C. § 1346(b)(1) expressly defines the “scope” of a federal

                             employee’s “office or employment” by reference to “circumstances where the United

                             States, if a private person, would be liable to the claimant in accordance with the law of

                             the place where the act or omission occurred.”

                                   While it references the FTCA, the FSHCAA contains no such language defining the

                             scope of employment in the PHS according to state law. Subsection (a) uses but does not

                             further define or constrain the phrase “scope of his office or employment” with any of the

                             language referring to state law under the FTCA. 42 U.S.C. § 233(a). Vitally, Congress

                             would have no need to enact 42 U.S.C. § 233(g) if it wanted to rely on the FTCA definition

                             of the scope of employment. That subsection defines an elaborate process for the

                             Secretary of Health and Human Services to deem recipients of federal grant funds to be

                             “an employee of the Public Health Service.” 42 U.S.C. § 233(g)(1). 42 C.F.R. § 6.6 would

                             also have been wholly unnecessary if state law answered the question of the scope of

                             employment—the Department of Health and Human Services (“HHS”) never would have

                             needed to implement 42 U.S.C. § 233(g)(1)(B)(ii) and (C), which narrowly extend the
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                             patients of the entity” under specifically enumerated circumstances.

                                   Rather than permitting other statutory provisions to intrude into the realm more

                             specifically governed by FSHCAA and regulated by HHS, this Court should continue to

                             apply the correct law. Doc#:26, June 8, 2021 Ruling, PageID#:521-22. As this Court has

                             already ruled, FSCHAA confers federal jurisdiction under 42 U.S.C. § 233(c) only if

                             Defendant Timothy J. Thress, M.D. (“Dr. Thress”) was “acting within the scope of


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                             employment with the” PHS, and 42 C.F.R. § 6.6 dictates which “specific acts or omissions

                             are considered within the scope of employment, and covered by the FSHCAA.” Id.,

                             PageID#:521.

                                       These key differences between the standard FTCA scope of federal employment

                             and FSHCAA’s more carefully defined scope of employment with the PHS is the primary

                             reason why this Court should not follow Agyin v. Razmzan, 986 F.3d 168 (2d Cir. 2021).

                             In that dispute, the United States Court of Appeals for the Second Circuit applied only a

                             state-law scope-of-employment analysis like the one defined in 28 U.S.C. § 1346(b)(1)

                             because the “parties agree[d] that under the FTCA, New York law governs the scope-of-

                             employment analysis.” Agyin, 986 F.3d at 184. Remarkably, the Court of Appeals

                             disagreed with the district court’s ruling relying on “its reading of 42 C.F.R. § 6.6 and the

                             FTCA Manual’s policy on alternative billing arrangements” because “neither 42 C.F.R.

                             § 6.6 nor the FTCA Manual purports to alter New York’s scope-of-employment analysis.”

                             Id. In this case, there is no such agreement. In contrast to the procedural backdrop in

                             Agyin, the instant Plaintiffs wholeheartedly oppose application of any scope-of-

                             employment principles that are not found in FSHCAA or the lawfully promulgated

                             regulations interpreting this comprehensive legislative scheme, and they explicitly object

                             to application of Ohio’s agency law in the absence of some statutory basis. At every turn,
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                             with the PHS stretched as far, and no further, than the scope of the grant awarded to non-

                             defendant HealthSource. This Court should not be distracted or confused by the United

                             States’ last-minute Hail Mary, which lacks any real basis in the applicable law.

                             III.      THE UNITED STATES’ SIGNIFICANT CONCESSIONS

                                       Importantly, the United States has huddled closely to a single tenuous theory that

                             Dr. Thress’ work at Mercy Health – Anderson Hospital (“Mercy”) was really done for the


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                             sake of HealthSource, claiming that this institution required him to “obtain hospital

                             privileges and participate in hospital call.” Doc#:34, USA’s Supplemental Response,

                             PageID#:724. Purporting that the facts were undisputed, the government asserted that

                             “Dr. Thress, working as an obstetrician, in accordance with a[n] on-call schedule

                             established by HealthSource and Mercy Anderson, and in accordance with his contractual

                             responsibilities to HealthSource and to HealthSource’s benefit, was working within the

                             scope of his employment of HealthSource under Ohio law.” Id. After blaming Plaintiffs

                             for citing “selectively to 42 C.F.R. Part 6 implementing 42 U.S.C. § 233(g),” the United

                             States finally tied its theory together by referencing FSHCAA subsection (g)(1)(A), which

                             generally establishes that the protections of FSHCAA may extend to an “employee” of an

                             entity that has been deemed to be a PHS employee. Id., PageID#:724-25. Finally, the

                             government tried in passing fashion to fit the relationship into 42 U.S.C. § 233(g)(1)(C)(ii)

                             and 42 C.F.R. § 6.6(e)(2), under which the United States claims “services to non-patients

                             will be covered when the services are required to be provided to such individuals under

                             an employment contract between the federally qualified health center and the individual

                             provider.” Id., PageID#:727-30.

                                    By choosing this specific play, the United States has conceded the rest of the field

                             sub silentio. No longer can the United States claim that any treatment at Mercy was
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                             services that Plaintiff Dwan Bray received at Mercy, the government has placed this case

                             squarely within the application of 42 C.F.R. § 6.6(d), which mandates that “[o]nly acts

                             and omissions related to the grant-supported activity of entities are covered.” Metcalf v.

                             W. Suburban Hosp., 912 F. Supp. 382, 388 (N.D. Ill. 1996).

                                    Unexpectedly, the United States called its own regulatory authority into question

                             to get around the plain text of 42 C.F.R. § 6.6(d):


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                                          Plaintiff cites no statutory basis that the source of funding for
                                          particular care is relevant in making a determination
                                          regarding whether care provided by a federally qualified
                                          health center and its employees is eligible for FTCA coverage.
                                          That is because there is no statutory basis for making the
                                          distinction which Plaintiffs seek to make.

                             Doc#:34, USA’s Supplemental Response, PageID#:725. That is an easy gap to fill for the

                             government—42 U.S.C. § 216(a) permits rulemaking “with respect to the appointment” of

                             members of the PHS. And 42 U.S.C. § 233(g)(1)(C) more specifically requires HHS to

                             make decisions about which arrangements for treatment of non-patients of the PHS fall

                             within the FSHCAA:

                                          Subparagraph (B)(ii) applies to services provided to
                                          individuals who are not patients of an entity if the Secretary
                                          determines, after reviewing an application submitted under
                                          subparagraph (D), that the provision of the services to such
                                          individuals—

                                          (i)     benefits patients of the entity and general populations
                                                  that could be served by the entity through community-
                                                  wide intervention efforts within the communities
                                                  served by such entity;

                                          (ii)    facilitates the provision of services to patients of the
                                                  entity; or

                                          (iii)   are otherwise required under an employment contract
                                                  (or similar arrangement) between the entity and an
                                                  officer, governing board member, employee, or
                                                  contractor of the entity.
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                                   42 U.S.C. § 233(g)(1)(C) also directs that HHS would have had to make a prior

                             determination that Dr. Thress’ work at Mercy for non-HealthSource patients was really

                             benefitting HealthSource’s grant-supported activities before such treatment fell within

                             FSHCAA. 42 C.F.R. § 6.6(e) merely provides common scenarios for which it is not worth

                             the time of HHS to give pre-clearance:

                                          HRSA decided that it would be impractical and burdensome
                                          to require a separate application and determination of

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                                           coverage for certain situations described in the examples set
                                           forth in 6.6(e), as further discussed in the September 1995
                                           Notice (60 FR 49417). For those situations, it was determined
                                           that the activities described in the September 1995 Notice are
                                           covered under 42 CFR 6.6(d) without the need for a separate
                                           application, so long as other requirements for coverage are
                                           met, such as a determination that the entity is a covered
                                           entity, a determination that the individual is a covered
                                           individual, and a determination that the acts or omissions by
                                           those individuals occur within the scope of employment.

                             78 FR 58202 (emphasis added). Notably, HealthSource would still have been required

                             under these rules to acquire a predetermination of coverage for Dr. Thress’ activities if

                             they fell under 42 C.F.R. § 6.6(e)(2). Thomas v. Phoebe Putney Health Sys., Inc, No. 1:18-

                             CV-096, 2019 WL 6039976, at *5 (M.D. Ga. Mar. 6, 2019); Metcalf, 912 F. Supp. at 387.

                             Only subsection (e)(4) exempts certain scenarios from pre-clearance, and the government

                             did not even mention this provision.            Doc#:34, USA’s Supplemental Response,

                             PageID#:720-31.       At no point has the United States offered proof of such an

                             administrative determination of coverage made prior to the services Dr. Thress

                             performed for Plaintiff Bray, choosing instead to pretend that the Attorney General’s

                             certification met this requirement. Id., PageID#:728. Without such a decision, the

                             United States’ unavailing attempt to squeeze within 42 U.S.C. § 233(g)(1)(C)(ii) and 42

                             C.F.R. § 6.6(e)(2) cannot win the day.

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                             IV.    THE UNITED STATES’ INSUFFICIENT EVIDENCE
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                                    With these concessions made, this Court would be justified remanding this matter
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                             notwithstanding the new evidence offered by the United States. But because there is a

                             missing link between Dr. Thress’ employment agreements with HealthSource and Mercy,

                             even this aspect of the government’s presentation falls flat.

                                    First, the United States confuses the rule it relies upon.           Coverage reaches

                             treatment for “individuals who are not patients of a covered entity” under 42 C.F.R.

                             § 6.6(d)(2) only if that care “facilitates the provision of services to patients of the entity.”

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                             The example given under 42 C.F.R. § 6.6(e)(2) explains that on-call agreements must

                             ultimately enure in some way to the benefit of patients of the PHS-employee entity:

                                          A migrant health center requires its physicians to obtain staff
                                          privileges at a community hospital. As a condition of
                                          obtaining such privileges, and thus being able to admit the
                                          center’s patients to the hospital, the physicians must agree to
                                          provide occasional coverage of the hospital’s emergency
                                          room. The Secretary would be authorized to determine that
                                          this coverage is necessary to facilitate the provision of services
                                          to the grantee’s patients, and that it would therefore be
                                          covered by paragraph (d)(2) of this section.

                                   The United States has relied on a number of provisions in Dr. Thress’ separate

                             agreements with HealthSource and Mercy that include vague references to covering call

                             when required. Doc#:34, USA’s Supplemental Response, PageID#:721-22. But none of

                             these agreements establish that call coverage was a pre-requisite for HealthSource’s

                             patients to be admitted to Mercy. The United States did not even attempt to connect this

                             missing link between the agreements it refers to.          Doc#:34, USA’s Supplemental

                             Response, PageID#:721-22.

                                   It may be true that “Dr. Thress’s contract with HealthSource” required him to

                             “obtain and maintain hospital privileges and participate in hospital and/or emergency

                             room on-call rotations for hospital care in accordance with on-call agreements executed

                             by HealthSource with hospitals.” Doc#:34, USA’s Supplemental Response, PageID#:721.
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Terminal Tower, 40th Floor
50 Public Sq.                Still, there is no evidence that any such an agreement existed. Nothing in HealthSource’s
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                             written arrangement with Mercy extends such privileges to HealthSource so that grant-

                             beneficiary patients may be admitted to Mercy’s hospital, nor does it require physicians

                             to cover call in return for such a privilege. Doc#:32-2, Professional Services Agreement

                             dated February 8, 2013 (“Professional Services Agreement”), PageID#:644-666. The

                             same argument that The United States advances in support of Dr. Thress being a PHS

                             employee at the time he treated Dwan Bray—that the Professional Services Agreement


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                             between Mercy and HealthSource benefitted “admitted HealthSource patients,” is belied

                             by the plain language of the contract. Id. On its face, the Professional Services Agreement

                             was designed for and limited any conceivable benefit exclusively to Mercy and its

                             patients—not those of HealthSource, and physicians like Dr. Thress who were privately

                             compensated for their house officer services:

                                           WHEREAS, Mercy desires to retain a physician with
                                           appropriate training, skills and experience to provide
                                           OB/GYN call coverage and professional medical services for
                                           [Mercy Health-Anderson Hospital] pursuant to this
                                           Agreement;

                                           ...

                                           WHEREAS, [HealthSource] desires to provide the services of
                                           Providers to Mercy; and

                                           WHEREAS, Mercy and [HealthSource] agree that it is in the
                                           best interests of quality patient care and for efficient and
                                           effective delivery of health care at Mercy that this Agreement
                                           be entered into by the parties.

                                           NOW, THEREFORE, in consideration of the agreements
                                           contained herein, the parties agree as follows:

                             Doc#:32-2, Professional Services Agreement, PageID#:644 (emphasis added).

                             Healthsource was actually barred from receiving any benefit for its patients at Mercy’s

                             hospital: “Corporation shall not use, or knowingly permit any other person who is under

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                             its direction to use, any part of Mercy’s premises for any purpose other than the
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                             performance of Services for Mercy and its patients pursuant to this Agreement.”
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                             Doc#:32-2, Professional Services Agreement, PageID#:648. Mercy and HealthSource

                             were dealing at arm’s length as “independent contractors,” not as partners in the care of

                             grant-supported patients. Id., PageID#:649.

                                    The United States has filed a declaration trying to fill these considerable gaps, but

                             nothing in the agreement between the entities required HealthSource physicians to cover

                             call in exchange for the privilege to admit HealthSource patients into Mercy’s hospital.

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                             See Doc#:34-1, Declaration of Kimberly Patton filed May 20, 2022, PageID#:732-33.

                             Nor does Dr. Thress’ agreement with HealthSource specifically reference any on-call

                             duties at Mercy as HealthSource CEO Kimberly Patton has asserted. Compare Id. with

                             Doc#:32-5, Employment Agreement August 1, 2015 through June 30, 2017 for Dr.

                             Timothy Thress, PageID#:690-705.          This declaration alone cannot contradict the

                             undisputed text of the governing agreements to confer federal jurisdiction that is

                             otherwise lacking. In this way, the United States has failed to meet its burden to establish

                             by a preponderance of the evidence that federal subject matter jurisdiction exists.

                                    On the current evidentiary record, this dispute stands for the proposition that a

                             federally funded clinic cannot federalize a medical malpractice suit against one of its

                             independent-contractor clients simply by reference to vague agreements and rules

                             requiring call coverage that explicitly do nothing for the patients to whom Congress

                             sought to offer aid. FTCA coverage for tort liability under FSHCAA should not be treated

                             as a cloak that an individual physician may wear to any hospital that he has been lent out

                             to for profit. The federal dime is worth more than that, and this Court should reject the

                             attempt to stretch FSHCAA beyond its breaking point.




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                                                                   CONCLUSION

                                      For the foregoing reasons, this Court lacks subject matter jurisdiction over this

                             dispute, and the matter should be remanded to the Hamilton County Court of Common

                             Pleas.

                             Respectfully Submitted,

                             /s/ Myles J. Poster                               /s/ Paul W. Flowers
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                                                            CERTIFICATE OF SERVICE

                                    I hereby certify that on June 3, 2022, the foregoing Reply was filed electronically.

                             Notice of this filing will be sent to all parties by operation of the court’s electronic filing

                             system. Loc. R. 5.2(b). Parties may access this filing through the court’s system.

                                                                                /s/ Paul W. Flowers
                                                                                Paul W. Flowers, Esq. (#0046625)
                                                                                FLOWERS & GRUBE

                                                                                Attorney for Plaintiffs,
                                                                                N.B. a Minor, by her Parents, Natural
                                                                                Guardians, and Next Friends Dwan
                                                                                Bray and Aaron Bray




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